              Case: 1:16-cv-02106 Document #: 80 Filed: 01/10/18 Page 1 of 2 PageID #:773



                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION

          JEFFREY MOLITOR, LAURA C. DE LA
          CABADA, STEVE CLARKE, and RUTH
          MAKI, individually and on behalf of all
          others similarly situated,                            CIVIL ACTION NO.: 1:16-CV-02106

                    Plaintiffs,                                 Honorable Charles S. Norgle, Sr.

        v.                                                      Magistrate Judge Sidney I. Schenkier

          MANASSEH JORDAN MINISTRIES, INC., a
          New York Religious Corporation, and YAKIM
          MANASSEH JORDAN, an individual,

                   Defendants.



                              NOTICE OF MOTION TO WTHDRAW AS COUNSEL

        To:        All Counsel of Record

               PLEASE TAKE NOTICE that on January 19, 2018 at 10:30 a.m., or as soon thereafter
        as counsel may be heard, we will appear before the Honorable Charles S. Norgle, Sr. in
        Courtroom Number 2341, 219 South Dearborn Street, Chicago, Illinois 60604, or before any
        judge who may be sitting in his place and stead, and shall then and there present Jonathan W.
        Garlough’s Motion to Withdraw as Counsel.


        Dated: January 10, 2018                     Respectfully submitted,


                                                    FOLEY & LARDNER LLP

                                                    /s/ Jonathan W. Garlough
                                                        One of Its Attorneys
                                                    Jonathan W. Garlough, #6295597
                                                    321 N. Clark Street, Suite 2800
                                                    Chicago, IL 60654-5313
                                                    Phone: (312) 832-4500
                                                    Email: jgarlough@foley.com




4815-5690-3770.1
              Case: 1:16-cv-02106 Document #: 80 Filed: 01/10/18 Page 2 of 2 PageID #:774




                                           CERTIFICATE OF SERVICE


                   I, Jonathan W. Garlough, an attorney, hereby certify that on January 10, 2018, I caused a

        copy of the foregoing Kingdom Ministries Church, Inc.’s Notice of Motion to Withdraw as

        Counsel, in the above-captioned matter to be filed with the Clerk of the District Court and

        served on the parties of record, by operation of the Court’s CM/ECF electronic filing system.


                                                                      /s/ Jonathan W. Garlough




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